Case 14-01361-JJG-13_ Doc40 Filed 10/15/16 EOD 10/15/16 13:33:07. Pgiof1

B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Southern District of Indiana

Inre Margaret Rose Smith Case No. 14-01361

 

 

 

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001fe)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

 

 

U.S. Bank Trust National Association, as Statebridge Company, LLC as servicer
Trustee of the Iglao Series II Trust for Waterfall Victoria Mortgage Trust
2011-1
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 6-1
should be sent: ; . Amount of Claim: 11365176
cfo SN Serving C ti .
393 5th Seat omen Date Claim Filed: 05/1 3/201 4
Eureka, CA 95501
Phone: (800) 603-0836 Phone:
Last Four Digits of Acct #: 8189 Last Four Digits of Acct. #: 3950

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the

best of my knewledge and belief.
By: On Chr. Date:  |3¢ [| oe

'~Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
